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UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
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                    UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF NEW JERSEY
______________________________
                               :   Chapter 11
In re:                         :
                               :   Case No. 23-12825 (MBK)
LTL Management LLC,            :
                               :   Hearing Date: May 22, 2023 at 10:00 a.m.
Debtor.                        :
                               :
______________________________:    Honorable Michael B. Kaplan, Chief Judge

       CERTIFICATION OF LAUREN BIELSKIE, ESQ., IN SUPPORT OF THE
         MOTION OF THE UNITED STATES TRUSTEE TO DISMISS CASE
                     PURSUANT TO 11 U.S.C. § 1112(B)

       I, Lauren Bielskie, of full age, hereby certify under penalty of perjury, pursuant to 28

U.S.C. § 1746, as follows:

       1.     I am employed as a trial attorney by the Office of the United States Trustee in

Newark, New Jersey.

       2.     I submit this Certification to place in the record certain documents submitted in

connection with the Motion of the United States Trustee to Dismiss Case Pursuant to 11 U.S.C. §

1112(b).

       3.     Attached hereto as Exhibit A is a true and accurate copy of the Declaration of John

K. Kim in Support of First Day Pleadings, filed by the Debtor on October 14, 2021, in the prior

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chapter 11 bankruptcy case (Bankr. D.N.J. Case No. 21-30859, Dkt. 5).

       4.     Attached hereto as Exhibit B is a true and accurate copy of the Motion to Stay the

Mandate, filed by the Debtor with the Third Circuit Court of Appeals on March 22, 2023, in the

prior chapter 11 bankruptcy case (3d Cir. Case No. 22-2003, Dkt. 173).

       I certify under penalty of perjury that the forgoing is true and correct.

                                              ANDREW R. VARA
                                              UNITED STATES TRUSTEE
                                              REGIONS 3 & 9

                                              By:     /s/ Lauren Bielskie
                                                      Lauren Bielskie
Dated: May 1, 2023                                    Trial Attorney




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